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				BENCH v. STATE2021 OK CR 24495 P.3d 670Case Number: PCD-2015-698Decided: 08/31/2021MILES STERLING BENCH, Petitioner v. THE STATE OF OKLAHOMA, Respondent
Cite as: 2021 OK CR 24, 495 P.3d 670

				

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ORDER VACATING PREVIOUS ORDER AND JUDGMENT
GRANTING POST-CONVICTION RELIEF
AND WITHDRAWING OPINION FROM PUBLICATION



¶1 Based on the Court's decision in State ex rel. Matloff v. Wallace, 2021 OK CR 21, ___ P.3d ___, the previous order and judgment granting post-conviction relief in this case are hereby VACATED and SET ASIDE. The issuance of the mandate in this case was previously stayed by this Court on May 28, 2021, and no mandate has issued. The opinion in Bench v. State, 2021 OK CR 12 is WITHDRAWN. The Court will issue a separate order addressing Petitioner's claims for post-conviction relief at a later time.

¶2 IT IS SO ORDERED.

¶3 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 31st day of August, 2021.


/S/SCOTT ROWLAND, Presiding Judge 


/S/ROBERT L. HUDSON, Vice Presiding Judge

/S/GARY L. LUMPKIN, Judge

/S/DAVID B. LEWIS, Judge

ATTEST:
/s/John D. Hadden
Clerk


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	Citationizer© Summary of Documents Citing This Document
	
	
		
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		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 12, 492 P.3d 19, WITHDRAWNCited
&nbsp;2021 OK CR 21, STATE ex rel. MATLOFF v. WALLACECited


	
	








				
					
					
				

		
		




	
		
			
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